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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

AIR LINE PILOTS ASSOCIATION,                )
INTERNATIONAL,                              )
                                            )
              Plaintiffs,                   )        No. 1:18-cv-05089
                                            )
       v.                                   )
                                            )
FRONTIER AIRLINES, INC.,                    )
                                            )
              Defendant.                    )

 CORPORATE DISCLOSURE STATEMENT AND NOTIFICATION OF AFFILIATES

       Pursuant to Federal Rule of Civil Procedure 7.1 and Northern District of Illinois Local

Rule 3.2, Plaintiff Air Line Pilots Association, International (“ALPA”) hereby states that ALPA

is an unincorporated membership association with no publicly held affiliates.



Dated: July 25, 2018                              AIR LINE PILOTS ASSOCIATION,
                                                  INTERNATIONAL

                                                By: /s/ Rami N. Fakhouri

                                                  Rami N. Fakhouri
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                               CERTIFICATE OF SERVICE

       I, Rami N. Fakhouri, an attorney, hereby certify that on July 25, 2018, I caused a true and

complete copy of the foregoing document be served upon all counsel of record in this action via

the U.S. District Court CM/ECF e-filing system.




                                            /s/ Rami N. Fakhouri
                                            Rami N. Fakhouri




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